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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:
                                                    Case No. 20-10343 (LSS)
 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,                                 Chapter 11
                                                    (Jointly Administered)
                  Debtors.


      MOTION TO CHANGE ELECTION TO OPT INTO EXPEDITED
PAYMENT/CONVENIENCE CLASS OR OTHER NECESSARY RELIEF ON BEHALF
                 OF SURVIVOR CLAIMANT D. S.

          D. S., (“Movant”), by and through his undersigned counsel, hereby moves (the “Motion”)

this Honorable Court for entry of an order allowing Movant to change his election to opt into the

expedited payment/convenience class. In support of the Motion, the Movant respectfully states as

follows:

                                               FACTS

          1.     D. S. is a sexual abuse survivor. Without going into detail, the nature of the abuse

inflicted upon D. S. was of the most egregious type involving masturbation and penetration such

that, under the Plan, D. S. would expect to receive one of the higher levels of compensation.

          2.     Attorney Tyler H. Fox (MA BBO #176860) electronically filed a Sexual Abuse

Survivor Proof of Claim form on or about November 16, 2020 on behalf of his client, D.S. The

proofs of claims for the survivors have been sealed. The proof of claim for D. S. was given

claimant number C93506.

          3.     Movant electronically filed a Ballot for Class 8 (Direct Abuse Claims). See attached

Exhibit 1.

          4.     In this ballot, Movant checked a box in which he voted to reject the Plan offered at

that time for a vote, but he also mistakenly checked a box in which he elected to receive the
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expedited distribution of a one-time cash payment from the Settlement Trust in the amount of

$3,500.00.

        5.      Movant did not intend to elect to receive the expediated distribution of $3,500.00

as full satisfaction of his claim.

        6.      Movant has neither received nor accepted the $3,500.00 expedited distribution.

                                       RELIEF SOUGHT

        7.      Movant requests that this Honorable Court allow Movant to rescind or retract the

election to limit his claim to $3,500.00 in exchange for an expedited payment and excuse Movant

from any and all obligations concerning or related to this election to receive the $3,500 expedited

cash payment as a full and final settlement of his sexual abuse survivor claim and instead allow

him, through his attorney to file, when required, either the Standard Claim or the Independent

Review Option, or in the alternative issue an injunction enjoining the Trustee and/or its

representatives, agents, and administrators (including but not limited to Price Waterhouse Cooper)

and/or BSA and/or its representatives, agents, etc., and any other parties who have an interest in

this case from enforcing this mistaken election and/or requiring Movant to limit any

award/payment to the expedited $3,500 amount, or in the alternative, issue a stay preventing any

further action by the Trustee and/or its representatives, agents, and/or the BSA, its representatives

or agents, and/or any other interested parties from requiring or enforcing Movant to take a $3,500

payment, while the Court considers its ruling and/or fashions a remedy to this motion.

                                          ARGUMENT

        8.      Movant never intended to elect this option, despite checking this box, and did not

understand the consequences that the election would constitute a complete release of claims that




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would be a final decision which he could not undo. See Declaration of D. S. attached hereto as

Exhibit 2.

       9.      Movant’s Attorney never advised him to select this option and would not have

advised him to the select this option given the knowledge of the facts of the case. See Declaration

of Attorney Tyler H. Fox attached hereto as Exhibit 3.

       10.     The written ballot is 23 pages long. The ballot was faulty, ambiguous, misleading

or otherwise confusing in that a claimant is requested to vote on whether or not to accept the

$3,500.00 expedited payment, in one paragraph, but the ballot does NOT mention, state or even

imply that election is final or irrevocable, and/or that it will prevent him from later changing his

mind or choosing another option. (See p. 6 of Ballot)

       11.     On the next to last page of the Ballot, immediately preceding where Movant and/or

any other Claimant signed his name, are seven (7) separate paragraphs which presumably intended

to inform in some way the consequences of the ballot choices. None of them say anything about

the election of the expedited award being final or irrevocable or preventing him/them from later

changing his/their mind(s) and/or selecting another option.

       12.     Based on information and belief, at the time that Movant and others selected this

option, it was not clearly known if known at all, by any/all Claimants (and most or all of the

Attorneys representing Survivors), what the alternatives to the expedited option were or would be

either under that Plan, if approved, or any other Plan to be later submitted and voted on, if the Plan

that Movant and other claimants were voting on, along with choosing to elect the expedited option,

was not accepted in that form.

       13.     Movant’s claim is believed to be worth far more than the $3,500, and based on the

facts of his claim, it would be grossly unfair and unjust to prevent him from choosing either the



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Standard Option or the Independent Review Option, where it is virtually a certainty that he would

receive an amount greatly in excess of $3,500.00.

       14.     Balancing the equities, the Motion should be granted. Not granting this Motion and

forcing Movant to accept $3,500.00 in full and final satisfaction of claim as opposed to allowing

Movant to take the Standard Review or Independent Review Option because he made a mistake in

completing a lengthy and complicated form will greatly reduce the amount of compensation he

will receive. It will also undermine the spirit of the Plan and the stated desire of the Plan to attempt

to give adequate compensation for the grievous suffering of Movant (and other similarly situated

survivors). On the other hand, the Trustee and Plan Proponents would suffer no harm if Movant

were to obtain his requested relief.

       15.     Upon information and belief, no money has been distributed as of yet under the

Plan. Certainly, Movant has not received or cashed any payments. In fact, upon information and

belief, the total amount of money that will be available to any and all Claimants/Survivors is not

even known at this time. Based on information and belief, no “tiers” or other classifications of

degrees of harm or methods of calculating damages for any and all claims have been established

yet. Accordingly, it would be difficult for any interested party to argue that they will be prejudiced

in any way if Movant is allowed to rescind or retract his mistaken election to take the expedited

$3,500.00 payment option in full and final satisfaction of his sexual abuse survivor claim as

opposed to being allowed to choose and begin the process of the Standard Review or the

Independent Review Option.

       WHEREFORE, Movant requests that he be permitted to modify his ballot where he

mistakenly opted into the $3,500.00 expedited payment/convenience class to retract that election




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in order to fully participate in the Standard Review or the Independent Review Option available

under the Plan and provide Movant such other relief as is just and proper.

Dated: October 11, 2023                             GELLERT SCALI BUSENKELL &
                                                    BROWN LLC

                                                    /s/ Charles J. Brown, III
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